     Case 2:21-cv-05794-FMO-MAA Document 21 Filed 11/16/21 Page 1 of 1 Page ID #:166



1

2

3                                                                          JS-6
4

5

6

7

8                                     UNITED STATES DISTRICT COURT
9                                   CENTRAL DISTRICT OF CALIFORNIA
10

11     Juan Valdez,                                 )   NO. CV 21-5794 FMO (MAAx)
                                                    )
12                          Plaintiff(s),           )
                                                    )
13                    v.                            )   ORDER DISMISSING ACTION WITHOUT
                                                    )   PREJUDICE
14                                                  )
       FCA US LLC et al,                            )
15                                                  )
                            Defendant(s).           )
16                                                  )
17            Having been advised by counsel that the above-entitled action has been settled, IT IS
18     ORDERED that the above-captioned action is hereby dismissed without costs and without
19     prejudice to the right, upon good cause shown within 30 days from the filing date of this Order,
20     to re-open the action if settlement is not consummated. The court retains full jurisdiction over this
21     action and this Order shall not prejudice any party to this action.
22     Dated this 16th day of November, 2021.
23
                                                                             /s/
24
                                                                      Fernando M. Olguin
25                                                               United States District Judge
26

27

28
